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                              IN THE U.S. DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Stacey L. Schmader, Leticia O’Dell, Chad    )
Nicholson, Kai Huschke, Markie Miller,      )
Malinda Clatterbuck, Michelle Sanborn,      )
Crystal Jankowski,                          )
                                            )               CIVIL ACTION No.:
        Plaintiffs,                         )               1:20-cv-00067
                                            )
v.                                          )
                                            )
Thomas Alan Linzey, in his Individual and )
Official Capacities; Tammy Belinsky, in her )
Individual and Official Capacities; Fred    )
Walls, in his Individual and Official       )
Capacities; Edward Wells, in his Individual )
and Official Capacities; Community          )
Environmental Legal Defense Fund and the )
Center for Democratic and Environmental )
Rights,                                     )
                                            )
        Defendants.                         )

MOTION FOR TEMPORARY RESTRAINING ORDER, OR, IN THE ALTERNATIVE,
MOTION FOR AN EMERGENCY HEARING PURSUANT TO RULE 65 OF THE FRCP

   Plaintiffs, by and through their undersigned counsel, hereby file the instant Motion for an

Emergency Temporary Restraining Order pursuant to Federal Rule of Civil Procedure 65(b)(1),

or, in the alternative, for an emergency hearing under Federal Rule of Civil Procedure 65(b)(3).

   1. This matter was initiated with the filing of a Complaint for Permanent Injunctive Relief

       and Motion for Preliminary Injunction with Jury Demand, Petition for Ex Parte

       Preliminary Injunction, and Memorandum of Law in Support of Plaintiffs’ Motion for

       Temporary Restraining Order, Temporary, Preliminary and Permanent Injunctive Relief

       in the Court of Common Pleas of Franklin County on December 12, 2019.
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   2. A Hearing on Plaintiffs’ Motion for Temporary Restraining Order was scheduled for

       December 23, 2019 and then rescheduled to January 27, 2020 due to a scheduling

       conflict. A copy of the Order is attached as Exhibit B.

   3. On January 13, 2020, Plaintiffs filed a Motion for Leave to Amend Complaint for

       Permanent Injunctive Relief and Motion for Preliminary Injunction with Jury Demand

       and a First Amended Complaint for Permanent Injunctive Relief and Motion for

       Preliminary Injunction with Jury Demand. A copy of the Motion and Amended

       Complaint is attached as Exhibit C.

   4. On January 13, 2020, Defendants filed a Notice of Removal to this Court. A copy of the

       Notice of Removal is attached as Exhibit D.

   5. Plaintiffs now respectfully request that a Temporary Restraining Order be issued for the

       relief requested in the attached Order, pursuant to Rule 65(b)(1), or in the alternative, that

       a hearing be scheduled immediately on the preliminary injunction/temporary restraining

       order to avoid the ongoing irreparable harm Plaintiffs are suffering, for the reasons

       specifically described in its filing of Exhibit A.

   WHEREFORE, Plaintiffs request a Temporary Restraining Order in the form Order attached

herein, or, in the alternative, that a hearing be scheduled on an emergency basis as soon as

possible on the temporary restraining order.

                                                      Respectfully Submitted,
                                                      KOLLER LAW LLC

Dated: January 17, 2020                        By:    /s/ David M. Koller
                                                      David M. Koller, Esquire
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                                                      Philadelphia, PA 19103
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                                                      Counsel for Plaintiffs


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